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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                              )
In re:                                                        )    Chapter 11
                                                              )
HAWKER BEECHCRAFT, INC., et al.,1                             )    Case No. 12-11873 (SMB)
                                                              )
                           Debtors.                           )    (Jointly Administered)
                                                              )

                     ORDER EXTENDING THE EXCLUSIVE PERIODS
                    DURING WHICH ONLY THE DEBTORS MAY FILE A
                 CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

          Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”) (a) extending by

120 days the Exclusive Periods during which only the Debtors may file a chapter 11 plan and

solicit acceptances thereof and (b) granting such other relief as is just and proper, all as more

fully set forth in the Motion; and the Court having reviewed the Motion; and the Court having

jurisdiction to consider this Motion and the relief requested therein in accordance

with 28 U.S.C. §§ 157 and 1334; and consideration of the Motion and the relief requested therein

being a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue being proper in this

district pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion being


1
     The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, include: Hawker Beechcraft, Inc. (2598); Arkansas Aerospace, Inc. (7496); Beech Aircraft
     Corporation (0487); Beechcraft Aviation Company (3548); Hawker Beechcraft Acquisition Company, LLC
     (8770); Hawker Beechcraft Corporation (5770); Hawker Beechcraft Defense Company, LLC (5891); Hawker
     Beechcraft Finance Corporation (8763); Hawker Beechcraft Global Customer Support Corporation (7338);
     Hawker Beechcraft Holding, Inc. (6044); Hawker Beechcraft International Delivery Corporation (6640);
     Hawker Beechcraft International Holding LLC (6757); Hawker Beechcraft International Service Company
     (9173); Hawker Beechcraft Notes Company (0498); Hawker Beechcraft Quality Support Company (7800);
     Hawker Beechcraft Regional Offices, Inc. (3889); HBC, LLC (N/A); and Rapid Aircraft Parts Inventory and
     Distribution Company, LLC (N/A). The location of the Debtors’ corporate headquarters and the Debtors’
     service address is: 10511 East Central, Wichita, Kansas 67206.
2
     Capitalized terms used but otherwise not defined herein shall have the meanings set forth in the Motion.




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adequate and appropriate under the particular circumstances; and a hearing having been held to

consider the relief requested in the Motion (the “Hearing”); and the Court having found and

determined that the relief sought in the Motion is in the best interests of the Debtors’ estates,

their creditors, and other parties in interest, and that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before the Court; and any objections to the relief requested herein having been

withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

          1.     The Motion is granted as set forth herein. [SMB 9/4/12]

          2.     The Exclusive Solicitation Period is hereby extended through and including

February 27, 2013; provided that no party other than the Debtors may file a chapter 11 plan until

the expiration of the Exclusive Solicitation Period unless otherwise ordered by the Court.

          3.     This Order is without prejudice to the Debtors’ ability to seek further extensions

of the Exclusive Periods pursuant to section 1121(d) of the Bankruptcy Code.

          4.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

          5.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

          6.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.




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          7.     The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated: September 4th, 2012
       New York, New York
                                                      /s/ STUART M. BERNSTEIN
                                                      Stuart M. Bernstein
                                                      United States Bankruptcy Judge




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